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Doc 3703 Entered 05/10/07 09:00:20 Pagei1of5

E-FILED on May 7, 2007

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

In re:
USA COMMERCIAL MORTGAGE COMPANY,

Debtor.

In re:
USA CAPITAL REALTY ADVISORS, LLC,

Debtor.

In re:
USA CAPITAL DIVERSIFIED TRUST DEED
FUND, LLC,

Debtor.

In re:
USA CAPITAL FIRST TRUST DEED FUND,
LLC,

Debtor.

In re:
USA SECURITIES, LLC,

Debtor.

Affects:

All Debtors

USA Commercial Mortgage Company
USA Securities, LLC

USA Capital Realty Advisors, LLC

USA Capital Diversified Trust Deed Fund,
LLC

USA First Trust Deed Fund, LLC

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Case No. BK-S-06-10725 LBR
Case No. BK-S-06-10726 LBR
Case No. BK-S-06-10727 LBR
Case No. BK-S-06-10728 LBR
Case No. BK-S-06-10729 LBR

Chapter 11

Jointly Administered Under
Case No. BK-S-06-10725 LBR

SUPPLEMENTAL DECLARATION OF
DAVID BLATT IN FURTHER SUPPORT
OF MOTION FOR ORDER
ENFORCING CONFIRMATION ORDER
AND DETERMINING NO SURVIVING
SECTION 3 RIGHT EXISTS WITH
RESPECT TO THE FIESTA

OAK VALLEY LOAN

Date: May 11, 2007
Time: 9:30 a.m.

Case 06-10725-gwz Doc 3703 Entered 05/10/07 09:00:20 Page 2of5

USA Commercial Mortgage Company
USA Securities, LLC

USA Capital Realty Advisors, LLC

USA Capital Diversified Trust Deed Fund,
LLC

USA First Trust Deed Fund, LLC

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I, DAVID BLATT, hereby declare under penalty of perjury that the
following is true and correct:

1. I am over 18 years of age, and I have personal knowledge of each
of the facts stated in this declaration (“Declaration”), except where otherwise indicated
below. If called as a witness, I could and would testify as to the matters set forth below
based upon my personal knowledge, except where otherwise indicated below.

2. I am a Managing Director of Compass Financial Partners LLC, a
Nevada limited liability company, an affiliate of Compass USA SPE LLC, a Delaware
limited liability company (together, “Compass”), and am competent to testify with
respect to the matters recited herein.

3. I submit this supplemental declaration in further support of the

motion (the “Compass Motion”), dated March 30, 2007, for an order enforcing paragraph

14 of the Order Confirming the Debtors’ Third Amended Joint Chapter 11 Plan of

Reorganization (the “Plan”), entered January 8, 2007 (the “Confirmation Order”), and
determining no Surviving Section 3 Right (as such term is defined in the Confirmation
Order) exists or is exercisable with respect to the loan commonly referred to as “Fiesta
Oak Valley” (the “Loan”). Unless otherwise defined herein, capitalized terms shall have

the meanings ascribed to them in the Compass Motion.

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Case 06-10725-gwz Doc 3703 Entered 05/10/07 09:00:20 Page 3of5

L Supplemental Declaration

4, On April 23, 2007, Compass filed its Reply in Further Support of
the Motion For Order Enforcing Confirmation Order and Determining No Surviving
Section 3 Right Exists With Respect to the Fiesta Oak Valley Loan (the “Compass
Reply”). On April 23, 2007, I submitted a Declaration in support of the Compass Reply

(the “April 23 Declaration”). This Declaration supplements the April 23 Declaration.

Il. Compass Has Acquired Over 47% of the Interests in the Loan

5. In the April 23 Declaration, I stated that Compass was exercising
its right under Section 2(c)(iii) of the Servicing Agreement (the “Call Right”) to pay off
certain Direct Lenders under the Loan, and that I would supplement the April 23
Declaration with a subsequent Declaration setting forth the specific details of Compass’
exercise of its Call Right.

6. Compass has now completed the exercise of its Call Right with
respect to holders of 47.36% of the beneficial interests in the Loan (the “Purchased
Interests”). A list of the Purchased Interests is set forth on the attached Exhibit “A.”

7. - On April 24, 2007, Compass sent letters (the “Call Letters”) to
certain Direct Lenders informing them that (i) Compass was exercising its right pursuant
to Section 2(c)(iii) of the Loan Servicing Agreement to acquire their beneficial interest in
the Loan, (ii) the Cumulative Call Price (as hereinafter defined) had already been funded
into escrow for their benefit, and (iii) they would receive the total unpaid principal
amount of their Purchased Interest plus all accrued interest thereon upon executing an

enclosed form assignment agreement (an “Assignment Agreement”) and returning it to

the Escrow Agent (as hereinafter defined). A copy of the form of Call Letter sent to

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Case 06-10725-gwz Doc 3703 Entered 05/10/07 09:00:20 Page 4of5

Direct Lenders and the accompanying form of Assignment Agreement are annexed
hereto as Exhibit “B.”
8. On April 24, 2007, the cumulative call price of $12,361,481.82

(the “Cumulative Call Price”) was wired to Orange Coast Title Company (the “Escrow

Agent”). The Cumulative Call Price represents the total outstanding principal and
accrued interest through April 30, 2007 on account of the Purchased Interests, together
with certain assignment processing fees.

9. Simultaneous with the funding of the Cumulative Call Price,

Compass sent an instruction letter (the “Orange Coast Instruction Letter,” a copy of

which is annexed hereto as Exhibit “C”) to the Escrow Agent to disburse to each lender

holding a Purchased Interest (each an “Assigning Lender”) its pro rata share of the

Cumulative Call Price upon the Escrow Agent’s receipt of an executed form of
Assignment Agreement. The Escrow Agent will then proceed to record the Assignment
Agreement with the local recording office.

10. In light of Compass’ exercise of its Call Right, less than 30% of
the holders of beneficial interests in the Loan currently support the replacement of
Compass with Vindrauga as servicer. On page 5 of the DACA Objection, DACA
indicated that 75% of the Direct Lenders in the Loan had exercised a Surviving Section 3
Right to terminate Compass as loan servicer. Set forth on Exhibit “D” hereto is a list of
45.41% of the Direct Lenders in the Loan specifically identified by DACA as having
executed a Surviving Section 3 Right (the “Exercising 45%”) whose interests are

Purchased Interests as described above and reflected on Exhibit “A” hereto. Thus, the

NY2:\1753036\04\1 IKNG04!,DOC\3801 1.0003 4
Case 06-10725-gwz Doc 3703 _ Entered 05/10/07 09:00:20 Page5of5

group on whose behalf DACA purports to speak, now holds less than a 30% interest in
the Loan.

11. As the holders of 51% of the beneficial interests in the Loan no
longer support the replacement of Compass with Vindrauga, DACA’s attempted
replacement of Compass with Vindrauga is not valid.

I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

EXECUTED this 4th day of May 2007, at New York, New York.

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David Blatt

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